 

Case:19-15484-MER Doc#:2 Filed:06/26/19 Entered:06/26/19 12:16:27 Pagel of 48

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

 

Case number (if known) Chapter you are filing under: -
Mi Chapter 7 Eu Con 22
(1 Chapter 11
OC Chapter 12

C1 Chapter 13 C] Check if this an
amended filing

   

4

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses Separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: oe - About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on Samuel

 

 

 

your government-issued First name First name

picture identification (for

example, your driver's Cc.

license or passport). Middle name Middle name

Bring your picture Duk

identification to your ukes

meeting with the trustee, Last name and Suffix (Sr, Jr, iy Ti Last name and Suffix (Sr., Jr, Ul, i

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XxX-9560
Individual Taxpayer
Identification number
(ITIN)

 

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Debtor? Samuel C. Dukes

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 1:

Ml | have not used any business name or EINs.

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

C1 | have not used any business name or EINs.

 

Business name(s)

Business name(s)

 

EINs

EINs

 

5. Where you live

1192 S. Bahama Street
Aurora, CO 80017
Number, Street, City, State & ZIP Code

Arapahoe

lf Debtor 2 lives at a different address:

Number, Street, City, State & ZIP Code

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

M@ Over the last 180 days before filing this petition,

| have lived in this district longer than in any
other district.

[] | have another reason.
Explain. (See 28 U.S.C. § 1408.)

. Check one:

O_ Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

{J Ihave another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
 

 

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Debtor1 Samuel C. Dukes

Case number (if known)

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

a Chapter 7

O Chapter 11

1 Chapter 12

UO Chapter 13

8. Howyou will pay the fee [ | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

m__sC[ need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

OO __ [request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for HENo

bankruptcy within the ,
last 8 years? 0 Yes.
District When Case number
District When Case number _
District When Case number
10. Are any bankruptcy MNo
cases pending or being
filed by aspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you _
District When Case number, if known
11. Do you rent your MNo Go to line 12.
residence? ,
O ves. Has your landlord obtained an eviction judgment against you?

oO No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
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Debtor’ Samuel C. Dukes

Case number (if known)

 

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition.

MNo. Go to Part 4.

O yes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above ,

oHooaaodgd

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. lf you indicate that you are a smail business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
in 11 U.S.C. 1116(1)(B).

HNo. | am not filing under Chapter 11.

OINo. | am filing under Chapter 11, but |!am NOT a small business debtor according to the definition in the Bankruptcy
Code.

Cl Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code,

 

14.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

HI No.

O Yes.
What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4
 

 

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Debtor1 Samuel C. Dukes

 

Parts: [eyaig Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

oO

| received a briefing from an approved credit CO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

I certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

lam not required to receive a briefing about C]
credit counseling because of:

0 _—siIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O __ Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Ol Active duty.
lam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

I certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

C] Incapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

[1 Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

(1 Active duty.
lam currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Certificate Number: 15725-CO-CC-032917238

. 1 38

5725-CO-CC-0329172:

CERTIFICATE OF COUNSELING

I CERTIFY that on June 4, 2019, at 12:36 o'clock PM EDT, Samuel Dukes
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Colorado, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: June 4, 2019 By: /s/Johon Cano

 

Name: Johon Cano

 

Title: Counselor

 

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 

 
 

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Debtor1 Samuel C. Dukes

Case number (if known)

 

Answer These Questions for Reporting Purposes

 

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

 

 

 

 

16. What kind of debts do 16a.
you have? individual primarily for a personal, family, or household purpose.”
CI No. Go to line 16b.
Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
CI No. Go to line 1c.
C1 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under CINo. !am not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that yes, | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ‘are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses HNo
are paid that funds will
be available for C] Yes
distribution to unsecured
creditors?
18. How many Creditorsdo gy 4_49 C1] 1,000-5,000 (1 25,001-50,000
yousstimate thatyou 1 50.99 0 5001-10,000 C 50,001-100,000
‘ C 100-199 CJ 10,001-25,000 C More than100,000
0 200-999
19. How much do you C1 $0 - $50,000 C1 $1,000,001 - $10 million 1 $500,000,001 - $1 billion

estimate your assets to
be worth?

CJ $50,001 - $100,000
Ml $100,001 - $500,000
C1 $500,001 - $1 million

J $10,000,001 - $50 million
Oo $50,000,001 - $100 million
Ci $100,000,001 - $500 million

C1 $1,000,000,001 - $10 billion
CI $10,000,000,001 - $50 billion
CI More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

O $0 - $50,000

[ $50,001 - $100,000
@ $100,001 - $500,000
CZ $500,001 - $1 million

CJ $1,000,001 - $10 million

[J $10,000,001 - $50 million
C $50,000,001 - $100 million
D1 $100,000,001 - $500 million

CO $500,000,001 - $1 billion

O $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
CO More than $50 billion

 

 

Sign Below

 

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a

bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,

and NS

“Samuel C. Dukes
Signature of Debtor 1

Signature of Debtor 2

Executedon June 24, 2019 Executed on

 

 

MM /DD/YYYY MM /DD/YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6
 

 

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Debtor! SamuelC.Dukes |

Case number (if known)

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by an

attorney, you do not need to
file this page.

Official Form 104

The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
financial and legal consequences, you are Strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
or you may lose protections, including the benefit of the automatic stay.

You must list ali your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
C1 No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

ONo
MI Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
ONo
MYes Name of Person Imogene H. Doerfler

Attach Bankruptcy Petition Preparer'’s Notice, Declaration, and Signature (Official Form 1 19).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. | have read and understood
this notice, and | am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if} do

not properly handle the.case.

Samuel C. Dukes Signature of Debtor 2
Signature of Debtor 1

 

 

 

 

 

 

Date June 24.2019 Date __
MM /DD/YYYY MM /DD/YYYY

Contact phone 720-217-8795 Contact phone -

Cell phone — Cell phone

Email address Email address

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Fill in this information to identify your case:

Debtor 1 Samuel C. Dukes

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF COLORADO

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 416

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1... What is your current marital status?

O Married
MH Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

mM No

(Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

HM No
O Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

GEREN Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
HM Yes. Fill in the details.

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
: exclusions) and exclusions)
From January 1 of current year until gy Wages, commissions, $38,008.38 CI Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
C1 Operating a business C1) Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor1 Samuel C. Dukes

Case number (if known)

 

For last calendar year:
(January 1 to December 31, 2018 )

Debtor 1

Sources of income
Check all that apply.

a Wages, commissions,
bonuses, tips

CO Operating a business

Gross income
(before deductions and
exclusions)

$84,038.00

Page10 of 48

 

Debtor 2

Sources of income
Check all that apply.

C1 Wages, commissions,
bonuses, tips

Cl Operating a business

Gross income
(before deductions
and exclusions)

 

For the calendar year before that:
(January 1 to December 31, 2017 )

EE Wages, commissions,
bonuses, tips

C1 Operating a business

$89,155.00

C1 Wages, commissions,
bonuses, tips

C1 Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

HM No
[] Yes. Fill in the details.
Debtor 1

Sources of income
Describe below.

Debtor 2
Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

Gross income from
each source

(before deductions and
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

(1 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

O No. Go to line 7.

O Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

MH Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Mi No.
C Yes

Go to line 7.

List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Total amount
paid

Creditor's Name and Address Dates of payment Amount you

still owe

Was this payment for ...

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Debtor1 Samuel C. Dukes Case number (if known)

 

Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
alimony.

M No

Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

M No

Ol Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid stillowe Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9.

10.

11.

12.

Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

H No

0 sYes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number

Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

HI No. Go to line 11.
Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

M No
Ol sYes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

M No
Cl Yes

List Certain Gifts and Contributions

13.

Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
HM No

Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
Person to Whom You Gave the Gift and
Address:
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor? Samuel C. Dukes Case number (if known)

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
M@ No

O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600

contributed
Charity's Name
Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

M No
O Yes. Fill in the details.

Describe the property you lost and

Describe any insurance coverage for the loss
how the loss occurred

Date of your Value of property
Include the amount that insurance has paid. List pending SS lost

insurance claims on line 33 of Schedule A/B: Property.
List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
HM No

Ol Yes. Fill in the details.

Person Who Was Paid

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MH No

Cl Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M No
O Yes, Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

M No
O Yes. Fill in the details.

Name of trust

Description and value of the property transferred Date Transfer was

made

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor1 Samuel C. Dukes Case number (if known)

 

 

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M No

(1 Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code) moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

mM No
1 Yes, Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents “Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

— No

[1 Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you stiil
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code)

Identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.
M No
C) Yes. Fill in the details.
Owner's Name , Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)

izlimoMe Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

Hl Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

M@ No
C1 Yes. Fill in the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code}
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor1 Samuel C. Dukes Case number (if known)

 

 

25. Have you notified any governmental unit of any release of hazardous material?

a No
C] Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code}

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

WM No
O Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZIP Code)

G2ERKERE Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C1 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CA member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
C1 An officer, director, or managing executive of a corporation
C1 An owner of at least 5% of the voting or equity securities of a corporation
HE No. None of the above applies. Go to Part 12.

Ol Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code} Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Me No
O Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

USP Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

—o

 

 

Samuel C. Dukes Signature of Debtor 2
Signature of Debtor 1

Date June 24} 2019 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
Mi No

0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

ONo

Ml Yes. Name of Person Imogene H. Doerfler___. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Fill in this information to identify your case:

Debtor 1 Samuel C, Dukes
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © DISTRICT OF COLORADO

 

Case number
(if known) O Check if this is an
amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

-Your.assets
Value of what you:own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B...... ee sccssssessctsveccsenevscesenetseneeterseesenertesseenecaeseseetateeeeseasbanes $ 338,680.00
ib. Copy line 62, Total personal property, from Schedule A/B. occ cee cseseneteneceesesececeneresrsesscsusastissessensseseeses $ 27,350.00
1c. Copy line 63, Total of all property on Schedule AVBoo.. iene eerenerereetsiensenses seers rsesennentnere $ 366,030.00

Summarize Your Liabilities

Your liabilities
Amount you owe:

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... § 343,673.13
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.. cicero $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F......... cece $ 46,229.56
Your total liabilities | $ 389,902.69

 

 

 

<ueMe OUMmMarize Your Income and Expenses

4. Schedule |: Your income (Official Form 1061)
Copy your combined monthly income from line 12 Of SCHECUIC Lo... cceccsssecseesetscterssscserersesecsessaecnssascnaeenecnesnessenets $ 4,718.28 .

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHECUIC Uo... cc cecssceseesecesesenserecsecseesvacrecsersostaesesatonecereeee $ 4,708.84

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
(1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Me Yes
7. What kind of debt do you have?

Mi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1 +=Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 Samuel C. Dukes Case number (if known)

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 7,026.45

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

oe Total claim
From Part 4.on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c, Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy fine 6h.) +§ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Fill in this information to identify your case and this filing:

Debtor 1 Samuel C. Dukes

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: DISTRICT OF COLORADO

 

Case number O Check if this is an
amended filing

 

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C No. Go to Part 2.
MM ves. Where is the property?

 

 

 

 

 

4.4 What is the property? Check all that apply
1192 S. Bahama Street HI Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description ‘unt ae the amount of any secured claims on Schedule D:
O Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(0 Manufactured or mobile home
Current value of the Current value of the
Aurora CO 80017-0000 0 Land entire property? portion you own?
City State ZIP Code [] Investment property $338,680.00 $338,680.00
LH Timeshare Describe the nature of your ownership interest
1 other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
MI Debtor 1 only
Arapahoe C1 debtor 2 only
County
C1 Debtor 4 and Debtor 2 only o Check if this is community property
O Atieast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the doliar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here..........ssessssserseececsserenscessneseeseesetsenseessntseeecasents => $338,680.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Samuel C. Dukes Case number (if known)

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

CF No
MI Yes
; . Dodge | : 2 Do not deduct secured claims or exemptions. Put
3.1 Make ese Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Stratus I Debtor 4 only Creditors Who Have Claims Secured by Property.
Year: 200200 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 150,000 CO Debtor 4 and Debtor 2 only entire property? portion you own?
Other information: C1 At jeast one of the debtors and another
D1 Check if this is community property $450.00 $450.00
(see instructions)
. Dodae ; ; Do not deduct secured claims or exemptions. Put
3.2 Make: g / Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Ram 2500 Wt pebtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2017) D1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 57000 CD Debtor 4 and Debtor 2 only entire property? portion you own?
Other information: CJ At least one of the debtors and another

 

O check if this is community property $22,600.00 $22,600.00

(see instructions}

 

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Mino
0 Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

pages you have attached for Part 2. Write that nUMber Nere.......csesssceccerssseecerssersressecessessnssesenenrsessnsererseerens => $23,050.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
. portion you own?
Do not deduct secured
claims or exemptions.

 

 

 

Examples: Major appliances, furniture, linens, china, kitchenware

[1 No
HI Yes. Describe.....

 

Household Goods and Furnishings $2,000.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

MNo
C1 Yes. Describe.....
8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

HNo
OO Yes. Describe.....

Official Form 106A/B Schedule A/B: Property page 2
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Debtor 4 Samuel C. Dukes Case number (if known)

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools,
musical instruments ,

EE No
OO Yes. Describe.....

10. Flrearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HNo
0 Yes. Describe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C1No
lI Yes. Describe.....

 

| Wearing Apparel | $200.00

 

 

12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

HI No
0 Yes. Describe.....

13, Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
C1 Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
MNo
C1 Yes. Give specific information...

 

15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ...........ccessseseescssoersestsessrsessssessersseseersreseneresneersens $2,200.00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HM No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

O1No
u VOS. ic ecccccseneeeeeees Institution name:
47.1. Checking Account Navy Federal Credit Union $50.00
17.2. Checking Account Aventa Credit Union $50.00
Official Form 106A/B Schedule A/B: Property page 3

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Debtor 1 Samuel C. Dukes: Case number (if known)

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HM No

0 Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

MNo

0 Yes. Give specific information about them..........0...
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

MI No

Cl Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
O1No

ll Yes. List each account separately.
Type of account: Institution name:

401K Plan $2,000.00

 

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo
7. ee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
MNo
Dyes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b){1).

MNo
OD Yes...cccccccccs Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HNo
CJ Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples; Internet domain names, websites, proceeds from royalties and licensing agreements

MNo
CO Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

MNo
CO Yes. Give specific information about them...
Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 4
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Debtor 1 Samuel C. Dukes Case number (if known)

 

28. Tax refunds owed to you
MNo

C Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HNo
1 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

HNo
C1 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

HNo

0 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

HM No
O Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

MI No
C1 Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
MNo
O] Yes. Describe each claim.........

35. Any financial assets you did not already list
HNo
1 Yes. Give specific information.

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here.u....... cs cccescsessessssesessensecreserseuseresessaseserssesesuseersensusessatesstsersesensensatersrenenysensese $2,100.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
WH No. Go to Part 6.

CO Yes. Go to line 38.

zis Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Mf No. Go to Part 7.

1 Yes. Go to jine 47.

 

Describe All Property You Own or Have an Interest in That You Did Not List Above
Official Form 106A/B Schedule A/B: Property page 5

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Debtor1 Samuel C. Dukes

 

 

53. Do you have other property of any kind you did not already list?

Examples: Season tickets, country club membership
HNo

(1 Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here

List the Totals of Each Part of this Form

Case number (if known)

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$0.00

 

55. Part 1: Total real estate, lime 2 ........sssccssssssssesssecssssssserssssssssasenssasessseserssrressesssssstssssasssisessnssapeceecsesccesccssecsee

56. Part 2: Total vehicles, line 5 $23,050.00
57. Part 3: Total personal and household items, line 15 $2,200.00

58. Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45 $0.00
60. Part 6: Total farm- and fishing-related property, line 52 $0.00
61. Part 7: Total other property not listed, line 54 + $0.00
62. Total personal property. Add lines 56 through 61... $27,350.00

$2,100.00

63. Total of all property on Schedule A/B. Add line 55 + line 62

Official Form 106A/B
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Schedule A/B: Property

Copy personal property total

 

$338,680.00

$27,350.00

$966,020.00

page 6
Best Case Bankruptcy

 
 

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MRC MCHUC COM (eam Zell mer eiod

Debtor 1 Samuel C. Dukes

First Name

 

Middle Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF COLORADO

 

 

Case number
(if known)

 

[J] Check if this is an
amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt

4/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 

GENRE Identify the Property You Claim as Exempt

1.

Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

Wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

O You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on -

Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption.

 

Specific laws that allow exemption

 

 

 

 

 

 

 

‘Schedule A/B
1192 S. Bahama Street Aurora, CO $338,680.00 fl $75,000.00 Colo. Rev. Stat. §§
80017 Arapahoe County , : 38-41-201(1)(a), 38-41-201.6,
Line from Schedule A/B: 1.1 O 100% of fair market value, upto 38-41-202
any applicable statutory limit
2002 Dodge Stratus 150,000 miles $450.00 $450.00 Colo. Rev. Stat. §§
Line from Schedule A/B: 3.1 - 13-54-102(1)(j)(I), (UID
XC 400% of fair market value, up to
any applicable statutory limit
2017 Dodge Ram 2500 57000 miles 22 600.00 7.050.090 Colo. Rev. Stat. §§
Line from Schedule A/B: 3.2 $22,600. 7 7, 13-54-102(1)(j)(I), (IN)
[100% of fair market value, up to
any applicable statutory limit
Household Goods and Furnishings $2,000.00 i $2,000.00 Colo. Rev. Stat. §
Line from Schedule A/B: 6.1 : ; 13-54-102(1)(e)
QO 100% of fair market value, up to
any applicable statutory limit
Wearing Apparel $200.00 $200.00 Colo. Rev. Stat. §

Line from Schedule A/B: 11.1

 

O 100% of fair market value, up to
any applicable statutory limit

13-54-102(1)(a)

 

Official Form 106C

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Schedule C: The Property You Claim as Exempt

page 1 of 2
Best Case Bankruptcy
 

 

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Debtor1 Samuel C. Dukes

Case number (if known)

 

Brief description of the property and line.on

Schedule A/B that lists this property

Current value of the
portion you own

Amount of the exemption you claim

Copy the value from Check only one. box for each exemption.

 

 

Specific laws that ailow.exemption

 

 

 

Schedule A/B

Checking Account: Navy Federal $50.00 $50.00 Colo. Rev. Stat. §§
Credit Union 13-54-104(2)(a), 5-5-105,
Line from Schedule A/B: 17.1 C1 400% of fair market value, upto 5-5-106

any applicable statutory limit
Checking Account: Aventa Credit $50.00 i $50.00 Colo. Rev. Stat. §§
Union 13-54-104(2)(a), 5-5-105,
Line from Schedule A/B: 17.2 [1 100% of fair market value, upto 5-5-106

any applicable statutory limit
401K Plan: $2,000.00 nl $2,000.00 Colo. Rev. Stat. §

Line from Schedule A/B: 21.1

 

CO 100% of fair market value, up to
any applicable statutory limit

13-54-102(1)(h)

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

0 éYes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Mm No
O No
OO Yes

Official Form 106C

Schedule C: The Property You Claim as Exempt

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page 2 of 2
Best Case Bankruptcy

 
 

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Fill in this information to identify your case:

Debtor 1 Samuel C. Dukes

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Courtfor the: DISTRICT OF COLORADO

 

Case number
(if known) C1 Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. {f two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
CI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Hf Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. : y . rn . Column A Column B Column C
2. List all secured claims. If a creditor has more than-one secured claim, list the creditor separately
for each claim. !f more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list.the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
: value of collateral. claim If any
2.1 | Aventa Credit Union Describe the property that secures the claim: $54,757.32 $22,600.00 $32,157.32
Creditor's Name 2017 Dodge Ram 2500
426 S. Cascade Avenue
f the dat file, im is:
Colorado Springs, co aa e date you file, the claim is: Check all that
80903 O Contingent
Number, Street, City, State & Zip Code C) Unliquidated
oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
ml Debtor 1 only x An agreement you made (such as mortgage or secured
D1 Debtor 2 only car loan)
CO Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
0 At iteast one of the debtors and another [] Judgment lien from a lawsuit
C1 Check if this claim relates to a 0 other (including a right to offset)
community debt
Date debt was incurred 11/2018 Last 4 digits of account number 9560
2.2 | Aventa Credit Union Describe the property that secures the claim: $6,797.00 $2,750.00 $4,047.00
Creditor's Name 2006 325ci BMW Vehicle (Son's Car)
3010 Williamette
. As of the dat fi laim is:
Colorado Springs, co ay e date you file, the claim is: Check all that
80909 CO Contingent
Number, Street, City, State & Zip Code oO Unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Ml bebtor 1 only Man agreement you made (such as mortgage or secured
CO Debtor 2 only car loan)
CO Debtor 1 and Debtor 2 only C Statutory llen (such as tax lien, mechanic's lien)
7 At least one of the debtors and another = Judgment lien from a lawsuit
(9) Check if this claim relates to a Ml Other (including a right to offset) 92006 BMW (son's car) used as collateral for Personal Loan
community debt
Date debt was incurred 04/2019 Last 4 digits of account number 6935
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Debtor1 Samuel C. Dukes

Case number (if know)

 

 

 

 

First Name Middle Name Last Name
23 United Wholesale
™ | Mortgage Describe the property that secures the claim: $282,118.81 $338,680.00 $0.00

 

 

 

Creditor’s Name

585 South Blvd. E
Pontiac, Ml 48341

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

Debtor 1 only

C1 Debtor 2 only

C1) Debtor 1 and Debtor 2 only

CO atteast one of the debtors and another

OO Check if this claim relates to a
community debt

Date debt was incurred 12/2015

 

Residence Located at 1192 S.
Bahama Street, Aurora, CO 80017

 

 

As of the date you file, the claim is: Check all that
apply.

oO Contingent

0 unliquidated

C1 disputed
Nature of lien. Check all that apply.

Ban agreement you made (such as mortgage or secured
car loan)

Oo Statutory lien (such as tax lien, mechanic's lien)

| Judgment lien from a lawsuit

O other (including a right to offset)

 

Last 4 digits of account number 6174

 

Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

 

$343,673.13

 

 

$343,673.13

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 2 of 2

Best Case Bankruptcy

 

 
 

 

Case:19-15484-MER Doc#:2 Filed:06/26/19 Entered:06/26/19 12:16:27 Page27 of 48

Fill in this information to identify your case:

Debtor 1 Samuel C. Dukes

First Name

 

Middie Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middie Name Last Name

DISTRICT OF COLORADO

United States Bankruptcy Court for the:

 

Case number
(if known) (] Check if this is an
amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AJB: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
ME No. Go to Part 2,

OO Yes.
List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

 

 

CI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Ht ves,

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured ciaim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list clairns already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.{f you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2.

[at |: Barclays Bank Delaware

Nonpriority Creditor's Name
P. O. Box 8803
Wilmington, DE 19899

Total claim

Last 4 digits of accountnumber 1302 $1,519.00

When was the debt incurred? 2019

 

 

 

Number Street City State Zip Code
Who incurred the debt? Check one.

MW bebtor 4 only

CO Debtor 2 only

1 Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

CO Check if this claim is fora community
debt

Is the claim subject to offset?

a No
[Yes

As of the date you file, the claim is: Check ail that apply

Cl Contingent
Oo Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

C1 student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debits to pension or profit-sharing plans, and other similar debts

WH other. Specify Credit Card. Goods Purchased.

 

 

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Samuel C. Dukes

 

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Case number (if know)

 

4.2 Best Buy/CBNA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number 6976 $1,985.00
Nonpriority Creditor's Name
P. O. Box 6497 When was the debt incurred? 2019
Sioux Falls, SD 57117
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 4 oniy oO Contingent
O Debtor 2 only 0 unliquidated
O Debtor 4 and Debtor 2 only CJ Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community D1 Student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Eno CI Debts to pension or profit-sharing plans, and other similar debts
0 Yes Mother. specity Credit Card. Goods Purchased.
Business Services - Patient
4.3 Accounting Last 4 digits of accountnumber 7462 $324.00
Nonpriority Creditor's Name
P, O. Box 732144 When was the debt incurred? 09/2018
Dallas, TX 75373-2144
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
I Debtor 1 only C1] contingent
CO Debtor 2 only Oo Unliquidated
OC Debtor 1 and Debtor 2 only Oo Disputed
CI At ieast one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 Check if this claim is for a community C1 student loans
debt Cj Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNo CO pebts to pension or profit-sharing plans, and other similar debts
- Re: UC Health Medical Services.
O Yes Other. Specify Collection Account.
Capital One Bank, USA Last 4 digits of account number 6508 $2.00
Nonpriority Creditor's Name
P. O. Box 30281 When was the debt incurred? 2019
Salt Lake City, UT 84130-0281
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ht pebtor 1 only C] Contingent
O debtor 2 only Oo Unliquidated
CO Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community CI Student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
MNo C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes MM other. Specity Credit Card. Goods Purchased.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 8

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Best Case Bankruptcy
 

 

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Debtor1 Samuel C. Dukes

4.5 Comenity Capital Bank/Boot Barn

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of accountnumber 0138 $342.00
Nonpriority Creditor's Name
P. O. Box 182120 When was the debt incurred? 2019
Columbus, OH 43218
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WW bebtor 1 only Oo Contingent
D1 Debtor 2 only oO Unliquidated
CJ Debtor 4 and Debtor 2 only Oo Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community C1 Student ioans
debt C Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mi No OO Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specity Credit Card. Goods Purchased.
4.6 Credit Service Company Last 4 digits of account number 0853 $100.00
Nonpriority Creditor's Name
P. O. Box 1120 When was the debt incurred? 2018
Colorado Springs, CO 80901
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ml Debtor 1 only Oj Contingent
C1 Debtor 2 only D1 untiquidated
C1 Debtor 4 and Debtor 2 only 1 Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OC Check if this claim is for a community O Student ioans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
Re: Health Images S. Potomac. Collection
O Yes MF other. Specify Account.
47 Department of the Treasury Last 4 digits of account number 9560 $7,822.74
Nonpriority Creditor's Name
Internal Revenue Service When was the debt incurred? 12/31/2012
Austin, TX 73301-0023
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Ml bebtor 1 only Oo Contingent
OD Debtor 2 only CI unliquidated
C] Debtor 4 and Debtor 2 only DO Disputed
CJ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bo O Debts to pension or profit-sharing plans, and other similar debts
C] Yes WI other. Specify Personal Income Tax.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 8

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Best Case Bankruptcy

 

 
 

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Debtor 1 Samuel C. Dukes

laa |

Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Department of the Treasury Last 4 digits of accountnumber 9560 $3,941.00
Nonpriority Creditor's Name
Internal Revenue Service When was the debt incurred? 12/31/2013
Austin, TX 73301-0030
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM bebtor 1 only CQ Contingent
O Debtor 2 only O Unliquidated
C1 Debtor 1 and Debtor 2 only CO Disputed
(1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mi No O debts to pension or profit-sharing plans, and other similar debts
O yes MH other. Specify Personal IncomeTax.

4.9 Department of the Treasury Last 4 digits of accountnumber 9560 $1,584.34
Nonpriority Creditor's Name
Internal Revenue Service When was the debt incurred? 12/31/2014
Austin, TX 73301-0030
Number Street City State ZIp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Cl Contingent
CJ Debtor 2 only 0 Unliquidated
C1 Debtor 1 and Debtor 2 only C Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is for a community C1 student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 debts to pension or profit-sharing plans, and other similar debts
C1 Yes Mother. specify Personal IncomeTax.

4.1

6 Department of the Treasury Last 4 digits of account number 9560 $3,173.00
Nonpriority Creditor's Name
Internal Revenue Service When was the debt incurred? 12/31/2018
P. O. Box 7704
San Francisco, CA 94120-7704
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only (1 Contingent
O Debtor 2 only O Unliquidated
01 Debtor 1 and Debtor 2 only oO Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community D1 student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino O Debts to pension or profit-sharing plans, and other similar debts
O Yes MM other. Specify Personal IncomeTax.

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 8

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Best Case Bankruptcy

 

 
 

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Debtor1 Samuel C. Dukes

 

 

 

Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4.1
{ Health Images Last 4 digits of accountnumber 4298 $95.00
Nonpriority Creditor's Name
P.O. Box 5245 When was the debt incurred? 04/27/2018
Denver, CO 80217-5245
Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
M Debtor 1 only Oo Contingent
OD Debtor 2 only D0 unliquidated
© Debtor 1 and Debtor 2 only 01 pisputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a’ community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
MNo 0 Debts to pension or profit-sharing plans, and other similar debts
O ves Ho iy Medical Services.
ther. Specify
44 :
2 JPMCB Card Services Last 4 digits of accountnumber 5669 $3,436.00
Nonpriority Creditor's Name
P. O. Box 15369 When was the debt incurred? 2019
Wilmington, DE 19850
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HF Debtor 1 only Cj Contingent
O Debtor 2 only 0 unliquidated
CI Debtor 1 and Debtor 2 only C1 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O1 check if this claim is fora community C1 student loans
debt C1 obiigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
O ves Mt other. Specify Credit Card. Goods Purchased.
41 .
3 JPMCB Card Services Last 4 digits of accountnumber 7297 $4,599.00 ;
Nonpriority Creditor's Name
P. O. Box 15369 When was the debt incurred? 2019
Wilmington, DE 19850
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MH Debtor 1 only Oo Contingent
0 Debtor 2 only C1 unliquidated
Q] Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 check if this claim is fora community Ci Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? teport as priority claims
Hi No C1 debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specify Credit Card. Goods Purchased.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 8

Best Case Bankruptcy

 

 
 

 

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Debtor! Samuel C. Dukes

Case number (if know)

 

4 | | Kimball, Tirey & St. John, L.L.P.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number 2277 $11,111.48
Nonpriority Creditor's Name
7676 Hazard Center Drive, Suite 900 When was the debt incurred? 2018
San Diego, CA 92108
Number Street City State ZIp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wy bebtor 4 only O Contingent
O Debtor 2 only Oo Unliquidated
C Debtor 1 and Debtor 2 only O pisputea
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C1 Student toans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ml No 0 Debts to pension or profit-sharing plans, and other similar debts
Re: Angela Durdle (217 Woodland Parkway
#125, San Marcos, CA 92069) Collection
O Yes Mt other. Specify Account.

41 . :

5 Metro Collections Service Last 4 digits of account number 2174 $1 ,668.00
Nonpriority Creditor's Name ~
2600 S. Parker Road Bldg 4-340 When was the debt incurred? 2018
Aurora, CO 80014-1613
Number Sireet City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.

WH bebior 1 only O Contingent
O Debtor 2 only O unliquidated
C1 Debtor 1 and Debtor 2 only CJ Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 Student loans
debt C1 obtigations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Mino O Debts to pension or profit-sharing plans, and other similar debts
Re: Comiskey & Company. Collection
I Yes HF other. Specify Account.

41 . :

8 Navy Federal Credit Union Last 4 digits of accountnumber 8251 $1,358.00
Nonpriority Creditor's Name
P. O. Box 3700 When was the debt incurred? 2019
Merrifield, VA 22119-3700
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.

MH bebtor 1 only Oo Contingent
C] Debtor 2 only C1 uniiquidated
C] Debtor 1 and Debtor 2 only Oo Disputed
CJ at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 Student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ho C1 Debts to pension or profit-sharing plans, and other similar debts
N
O Yes Mi other. Specify Credit Card. Goods Purchased.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 8

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Debtor1 Samuel C. Dukes

 

 

 

 

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name
10800 E. Bethany Drive, Ste 450
Aurora, CO 80044-1590

 

Number Street City State Zip Code
Who incurred the debt? Check one.

I Debtor 1 only

CO Debtor 2 only

O Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

O check if this claim is for a community
debt
Is the claim subject to offset?

Ez No
0 Yes

4.1
7 The Home Depot Last 4 digits of account number 9758 $2,379.00
Nonpriority Creditor's Name
P. O. Box 6497 When was the debt incurred? 2019
Sioux Falls, SD 57117-6497
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only C] Contingent
(CJ Debtor 2 only 2 unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is fora community C1 student loans
debt C obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
NG DO Debts to pension or profit-sharing plans, and other similar debts
O Yes MI other. Speciy Credit Card. Goods Purchased.
4.1 . .
8 Wakefield and Associates Last 4 digits of account number 1496 $790.00

When was the debt incurred? 2018

 

As of the date you file, the claim is: Check ail that apply

Cl Contingent
OD unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

OD Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not /
report as priority claims |

D1 Debts to pension or profit-sharing plans, and other similar debts

MH other. Specity Re: Carepoint. Collection Account.

 

 

GEMEHM List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
notified for any debts in Parts 4 or 2, do not fill out or submit this page.

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

 

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
claims
from Part-1 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add ail other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 8g. $ ,
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

Page 7 of 8
Best Case Bankruptcy
 

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Debtor1 Samuel C. Dukes Case number (if know)
6j. Other. iori ims. Wri i.
i . ther Add all other nonpriority unsecured claims. Write that amount Si $ 46,229.56
6j. Total Nonpriority. Add lines 6f through 6i. Gj. $ 46,229.56
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 8

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Fill in this information to identify your case:

Debtor 4 Samuel C. Dukes

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: | DISTRICT OF COLORADO

 

Case number
(if known) C1 Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Mf No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C1 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Fill in this information to identify your case:

Debtor 1 Samuel C. Dukes

First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: © DISTRICT OF COLORADO

 

 

Case number
(if known) OO Check if this is an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors | 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

HI No
0 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

MI No. Go to line 3.
CO Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:

3.1 Oi Schedule D, line
Name

C] Schedule E/F, line
OO Schedule G, line

 

 

 

 

 

Number Street
City State ZIP Code

3.2 OC Schedule D, line
Name CI Schedule E/F, line

CI Schedule G, line
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Fill in this information to identi

Debtor 1 Samuel C. Dukes

Debtor 2

 

(Spouse, if filing)

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

 

Case number

 

(if known)

Check if this is:
O An amended filing

 

Official Form 106I
Schedule |: Your Income

 

C] Asupplement showing postpetition chapter
13 income as of the following date:

MM / DD/ YYYY
42/16

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

LENSE Describe Employment

1. Fillin your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Occupation

Include part-time, seasonal, or .
self'employed work. Employer's name
Occupation may include student
or homemaker, if it applies.

Employer's address

How long employed there?

LERZ3EE Give Details About Monthly Income

Debtor 1

Debtor 2 or non-filing spouse

 

HI Employed (1 Employed

CJ Not employed C1 Not employed

Electrician

 

SEAM Group, LLC

 

6210 Technology Center Drive,
Suite 200
Indianapolis, IN 46278

 

2 Years

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need

more space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $

3. Estimate and list monthly overtime pay.

4. Calculate gross Income. Add line 2 + line 3.

Official Form 1061

 

 

 

For Debtor 1 For Debtor 2or
: ‘non-filing spouse
7,296.86 $ N/A
3. +$ 0.00 + N/A
4, | $ 7,296.86 $ N/A

 

 

 

 

 

Schedule I: Your Income page |

 
 

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Debtor1 Samuel C. Dukes Case number (if known)
ForDebtor1 ——- For Debtor 2 or
oe “ -non-filing spouse
Copy line 4 here 4, $ 7,296.86 $ N/A
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. §$ 1,682.00 $ NIA
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ NIA
5c. Voluntary contributions for retirement plans 5c. §$ 198.96 $ NIA
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ N/A
5e. Insurance Se. § 297.62 $ N/A
5f. Domestic support obligations 5f  $ 400.00 $ N/A
5g. Union dues 5g. $ 0.00 $ NIA
5h. Other deductions. Specify: Shit §$ 0.00 + $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. 6§ 2,578.58 § N/A
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 4,718.28 $ N/A
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. $ 0.00 $ NIA
8b. Interest and dividends 8b. $ 0.00 $ NIA
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c.  $ 0.00 $ N/A
8d. Unemployment compensation 8d. $ 0.00 6$ N/A
8e. Social Security Be. $ 0.00 §$ NIA
8f. | Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: &f. § 0.00  $ NIA
8g. Pension or retirement income 8g. $ 0.00 §$ N/A
8h. Other monthly income. Specify: 8h.t § 0.00 + $ N/A
9. Add all other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. |$ 0.00; |/$ N/A
10. Calculate monthly income. Add line 7 + line 9. 10. | $ 4,718.28 | +/$ NIA|=|$ 4,718.28

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12.| $ 4,718.28

 

 

 

Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

H No.
O Yes. Explain: [ |

 

 

Official Form 1061 Schedule I: Your Income page 2

 
 

 

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Fill in this information to identify your case:

 

 

 

Debtor 1 Samuel C. Dukes Check if this is:

C Anamended filing
Debtor 2 [] Asupplement showing postpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF COLORADO MM /DD/YYYY

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

 

Describe Your Household
1. Is this a joint case?

No. Go to line 2.
C1 Yes. Does Debtor 2 live ina separate household?

C1 No
1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2, Doyou have dependents? [J No

 

  

 

 

 

 

Do not list Debtor 1 and HI Yes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. * each dependent............. age live with you?
Do not state the ONo
dependents names. Daughter 3 M Yes

C1 No

Son 18 a Yes

ONo

O Yes

CI No

C] Yes

3. Do your expenses include No

expenses of people other than g
yourself and your dependents? Yes
Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.) Your expenses

   

4. The rental or home ownership expenses for your residence. Inciude first mortgage
payments and any rent for the ground or lot. 4. $ 1,828.84

If not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 75.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

 
 

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Debtor1 Samuel C. Dukes

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:

6a. Electricity, heat, natural gas 6a. $ 200.00

6b. Water, sewer, garbage collection 6b. $ 80.00

6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 260.00

6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. § 300.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 175.00
10. Personal care products and services 10. $ 60.00
11. Medical and dental expenses 11. $ 30.00
12. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12. $ 150.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 125.00
14. Charitable contributions and religious donations 14. $ 0.00
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. §$ 0.00

15b. Health insurance 15b. §$ 0.00

15c. Vehicle insurance 15c. $ 450.00

15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 850.00

17b. Car payments for Vehicle 2 17b. $ 0.00

17c. Other. Specify: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule |, Your Income (Official Form 106). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19,
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: Miscellaneous Expenses 21. +$ 125.00

 

22. Calculate your monthly expenses
22a. Add lines 4 through 21.

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |.
236. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

$ 4,708.84
$

 

$ 4,708.84

 

23a. $ 4,718.28
23b. -$ 4,708.84

 

 

 

 

23c. | $ 9.44

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you
modification to the terms of your mortgage?

Ml No.

expect your mortgage payment to increase or decrease because of a

 

 

CJ Yes. | Explain here:

 

Official Form 106J Schedule J: Your Expenses page 2
 

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Fill in this information to identify your case:

 

 

 

Debtor 1 Samuel C. Dukes

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © DISTRICT OF COLORADO

 

Case number
(if known) (] Check if this is an

amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

Ol No

M Yes. Nameofperson Imogene H. Doerfler Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that 1 have read the summary and schedules filed with this declaration and
that they are true and c

Samuel C. Dukes Signature of Debtor 2
Signature of Debtor 1

 

 

Date June 2, 2019 Date

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Local Bankruptcy Form 1002-1.1
COVER SHEET FOR PETITION
CHECK APPLICABLE BOXES TO SHOW ALL DOCUMENTS ATTACHED

 

Name of debtor(s): [_]Attorney (firm name, address, telephone, and registration

Samuel C.
1192 S. Bahama Street
Aurora, CO 80017
720-217-8795

number):
Dukes

I¥|No Attorney ("pro se")(home address, telephone):

 

 

 

Filing fee:

[J $335 for Chapter 7

[ $1,717 for Chapter 11

[] $275 for Chapter 12

[J $310 for Chapter 13

lv] Other fee paid $ 335.00. Enter amount AND attach applicable application under FED.R.BANKR.P. 1006 to pay in

 

installments or pursuant to 28 U.S.C. § 1930(f) (if applicable).

 

 

Individual and business debtor(s) (except as otherwise noted):

 

Iv}

wi
ZI
iz)
il
iv]
v1

ry

SS

 

Exhibit D Statement of Compliance with Credit Counseling Requirement for each individual debtor (a list of all
authorized Credit Counselors for Colorado is found at http://www.usdoj.gov/ust or the court has a list that may be viewed
in the Records/Public Information Room 114 of the court.)

Voluntary Petition — Official Form |

Statement of Financial Affairs — Official Form 7

Summary of Schedules A—J — Official Form 6-Summary

Schedules A, B, C, D, E, F, G, H, I, and J — Official Forms 6A, 6B, 6C, 6D, 6E, 6F, 61 and 6J

Declaration Concerning Debtor’s Schedules — Official Form 6~—Declaration

Notice to Debtor by Non-Attorney Bankruptcy Petition Preparer ~- Official Form 19

(submitted only if debtor used the services of a bankruptcy petition preparer)

For each individual debtor, copies of all payment advices, paycheck stubs, or other evidence of all salary, commissions or
income received within 60 days before the bankruptcy case was filed, copied on 8-1/2 by 11 paper with the debtor’s first
and last name printed on top of each page (and bankruptcy case number, if a number has been assigned); OR, as
applicable, complete L.B. Form 1007-6.1 ("Statement Under Penalty of Perjury Concerning Payment Advices") for each
debtor.

A record of any interest in an education individual retirement account ("IRA") (26 U.S.C. § 530(b)(1)) or qualified state
tuition program (26 U.S.C. § 529(b)(1) plans).

Attorney Fee Disclosure Statement — Director’s Procedural Form B 203

Verification of Creditors’ Matrix — L.B. Form 1007-2.1

Creditors’ Matrix (see L.B.R. 1007-2 and L.B.R. 1007-2App. for instructions).

 

 

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Additional items due from ALL individual debtors:

 

ad Statement of Social Security Number(s) — Official Form 21

Chapter 7 individual debtors also must file:

lv] Statement of Current Monthly Income and Means Test Calculation — Official Form 22A*

fd Statement of Intention — Official Form 8 (due thirty days post-petition) (the failure to comply with this statement and file

reaffirmation agreements or motions to redeem personal property that the debtor does not intend to surrender has
ramifications 45 days after the first scheduled meeting of creditors under 11 U.S.C. § 362(h) of the Bankruptcy Code)

Chapter 11 individual debtors also must file:

iz Statement of Current Monthly Income — Official Form 22B

Chapter 13 individual debtors also must file:

L] Statement of Current Monthly Income and Disposable Income Calculation —
Official Form 22C*

CJ Plan -L.B. Form 3015.1

 

 

 

* The links for the updated Internal Revenue Service and Census Bureau Information that may be needed to complete
Statement of Current Monthly Income, Official Forms 22A and 22B, can be reached from the web site:
http://www.usdoj.gov/ust/. (Not applicable in chapter 7 cases if debts are primarily business debts.)

 

 

 

 

 

Additional items due from chapter 11 debtors:

I List of Twenty Largest Creditors — Official Form 4

LJ Corporate Ownership Statement — Required by FED. R BANKR. P. 1007(a)(1) for
corporations. L.B. Form 1007-4.1.

L] List of Equity Interest Holders — Required by FED. R. BANKR. P. 1007(a)(3) for
corporations. L.B. Form 1007-4.2.

C] Small business debtors must file the most recent 1) balance sheet, 2) statements of operations, 3) cash-flow statement and
4) federal income tax return; OR a verified statement that those documents do not exist and have not been prepared or
filed.

Date: June 2%, 2019 Printed name of party signing: Signature of Attorney (or debtor without

Samuel C. Dukes counsel): =

 

 

 

 

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United States Bankruptcy Court
District of Colorado

Inre Samuel C. Dukes Case No.
Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

Date: June 244, 2019 SSeS

Samuel C. Dukes
Signature of Debtor

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Payee

 

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SEAM Group LLC
6210 Technology Center Drive, Suite 200
Indianapolis, IN 46278

Direct Deposit Voucher

Div.: 110712 / Dept. 53010
Samuel C. Dukes

1192 S. Bahama St
Aurora, CO 80017-4429

Non-Negotiable

 

 

 

 

 

 

Check Date | Reference No.
04/12/2019 2008859
Amount
$3,394.03

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fold Here 4/10/2019 3:50:41 PM
Company Name {SEAM Group LLC / oe ; — Processed By Kemper 1st Choice Payroll
Address] 6210 Technology Center Drive, Suite 200 Indianapolis, IN 46278 - 7 — (317) 610-0021
_Federal EIN}XX-XXXXXXX | (W) CO EIN] 27842197 a 1 | ,
Employee Name [Samuel C. Dukes / oo / / a _ UCI State co
Company No.| 990036 | —_ Payroll No] 155 | PayFreq.] Bi-Weekly | | Tax Status Deps | Xtr/Fxd Flat | Xtr/Exd %
Employee No.J = 105. | DivisionNo] 110712, '|__Start Date] 03/24/2019 [Federal] Single i :
__SSNNo.| *#9560 |Home Dept,No] 53010 | —_ End Date | 04/06/2019 |(W)CO.]| —_—_ Single 1
Check No. 2008859 | Net Pay] 3,394.03 | Check Date] 04/12/2019 | | :
Earnings Taxes Deductions & Memos
Dept. Current Year-to-Date Tax Current YTD Deduction | Current YTD
No. | Description] Rate | Hours || Amount. | Description | Hours | “Amount |Description] Amount Amount | Description | Amount Amount
53010 |0-Regular Pay | 53.1300 32.00 1,700.16 |O-Regular Pay 410.00 21,783.30 |Federal WH 723.25 3,407,36][3-401K 89.01 486.43
53010 |0-Reguiar Pay | 53.1300 8.00 425,04 |8-Weekend Pay 1,400.00 JOASDI 269.32 1,455.03}6-Dental Cafe' Pla 9.33 74.64
53010 |0-Regular Pay 53,1300 16.00 850.08 |10-PTO Carryov 75,86 1,137.90 [Medicare 62.98 340.29]16-Vision Cafe’ Pl 2.36 49.32
53010 {0-Regular Pay 53.1300 8.00 425,04 {12-Per Diem No. 2,205.00 CO; State WH 183.00 964.00]19-Short-term Di 9.21 73.68
53010 }0-Regular Pay | 53.1300 16.00 850.08 20-Long Term Di 19.63 157.04
53010 |8-Weekend Pay | 200.0000 200.00 23-Additional Lifd 13.39 107.12
53010 |12-Per Diem No] 35.0000 70.00 28-Health Plan-C 94.89 759.12
53010 |12-Per Diem No} 35.0000 175.00 M1-ER 401k Mat 44.50 243.19
53010 |12-Per Diem No} 35.0000 35.00
53010 |12-Per Diem No] 35.0000 70.00
53010 ]12-Per Diem No} 35.0000 70.00
Employee Totais 80.00 4,870.40 Total YTD:} 485.86 26,526.20 1,238.55 6,166.68 282.32 1,920.54
| Available Leave Totals: | Sick Hours {PTO 40.00 |Carryover PTO -30,86|

 

 

 

 

 

 

Account Type Bank Routing No. Bank Account No, Amount Deposited
Checking aE BRRKIEAOBD 200.00
Checking RRKKEAQTA HHRKEKOTOO 3,194.03

 

 

 

Company Memo:

Private Memo:

 
 

Case:19-15484-MER Doc#:2 FiPggkeg 2 64 aukntered:06/26/19 12:16:27 Page4é6 of 48

SEAM Group LLC
6210 Technology Center Drive, Suite
Indianapolis, IN 46278

200

 

 

 

 

 

Check Date | Reference No.
04/26/2019 2009015
Amount
$2,954.59

 

 

 

Direct Deposit Voucher

Div.: 110712 / Dept: 53010
Samuel C. Dukes

1192 S. Bahama St
Aurora, CO 80017-4429

Payee

Non-Negotiable

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Company Memo:

Private Memo:

CompanyName jSEAMGroupLLC : . Processed By Kemper 1st Choice Payroll
a Address 6210 Technology Center Drive, Suite 200 Indianapolis, IN 46278 ; (317) 610-0021
Federal EIN|XX-XXXXXXX | (W) CO EIN|27842197 ] |
Employee Name [Samuel C. Dukes ep 7 [| UCistate | CO
_ Company No.J 990036 ] -Payroll No] 156 ] Pay Freq,| _ Bi-Weekly | | _ Tax Status _ | Deps | Xtr/Fxd Flat | Xtr/Fxd %
EmployeeNo.} 105 | DivisionNo 110712 | Start Date] 04/07/2019 |Federal | _ Single |. 1
__SSNNo| #9560 | Home Dept,No| 53010 || End Date} 04/20/2019 |(w)co | Single foo1
CheckNo.[ 2009015 | Net Pay] 2,954.59 | ‘CheckDate| 04/26/2019 | | |
Earnings : Taxes Deductions & Memos
Dept. Current Year-to-Date Tax Current YTD Deduction | Current YTD
No. | Description] Rate Hours Amount _| Description | Hours | Amount |Description{ Amount Amount Description | Amount Amount
53010 |0-Regular Pay 53.1300 8.00 425.04 |O-Regular Pay 474,00 25,183.62 [Federal WH 570.35 3,977.71 13-401K 76.01 562.44
53010 }0-Regular Pay | 53.1300 24.00 1,275.12 |8-Weekend Pay 1,800.00 [OASDI 229.00 1,684.03]6-Dental Cafe' Pld 9.33 83.97
53010 }0-Regular Pay | 53.1300 46.00 850.08 ]10-PTO Carryovd 75.86 1,137.90 |Medicare 53.56 393.85]16-Vision Cafe’ Pl 2.36 21.68
53010 |0-Regular Pay } 53,1300 16.00 850.08 |12-Per Diem No 2,590.00 CO: State WH 153.00 4,117.00]19-Short-term Di 9.21 82.89
53010 18-Weekend Pay | 200.0000 200.00 20-Long Term Di 19.63 176.67
53010 [8-Weekend Pay | 200.0000 200,00 23-Additional Lif 13.39 120.51
53010 [12-Per Diem No} 35.0000 70.00 28-Health Plan-C. 94.89 854.01
53010 |12-Per Diem No} 35.0000 105.00 M1-ER 407k Mat 38.00 281,19
53010 |12-Per Diem No| 35.0000 105.00
53010 |12-Per Diem No] 35.0000 105.00
Employee Totals| 64.00 4,185.32 Total YTD:| 549.86 30,711.52 1,005.91 7,172.59 262.82 2,183.36
| Available Leave Totals: | Sick Hours [PTO 40.00 {Carryover PTO -30.86|
Account Type Bank Routing No, Bank Account No, Amount Deposited
Checking #EEKOO7E HRKEEEAQBZ 200.00
Checking HHHKRKAQTA FHAHHHO TOO 2,754.59
 

 

Case:19-15484-MER Doc#:2 Filgg@G@2642uukntered:06/26/19 12:16:27 Page47 of 48

SEAM Group LLC
6210 Technology Center Drive, Suite 200 oenapans Reference No.
Indianapolis, IN 46278 ceroror9 | _ 2009193

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount
$2,520.74
Direct Deposit Voucher
Div.: 110712 / Dept.: 53010
Payee Samuel C. Dukes
1192 S. Bahama St
Aurora, CO 80017-4429
Fold Here 5/8/2019 3:58:53 PM
Company Name [SEAM Group LEC spite ... Processed By Kemper 1st Choice Payroll
_....,.Address}6210 Technology Center Drive, Suite 200 Indianapolis, IN 46278 B17) 610-0021.
Federal EIN|46-0632707_ | (W) CO EIN] 27842197 | (R) EIN]
Employee Name |Samuel C. Dukes cscs cana wie cts . eee / __| UCI State co
“Company No} 990036 | Payroll Nol _ AST ) Pay Freq] _ Bi-Weekly | | Tax Status | Deps . |Xtr/Fxd Flat | Xtr/Fxd %
Employee No. = 105 |_—_ Division No| 110712 | Start Date] 04/21/2019 [Federal | Single } 1
_SSNNo| ***"9560 |Home Dept.No| 53010 |. —s End Date] 05/04/2019 |(w)co | Single } 4
CheckNo.| 2009193 | NetPay| 2,520.74 | --CheckDate| 05/10/2019 JiR) | |
Earnings Taxes Deductions & Memos
Dept. Current Year-to-Date Tax Current YTD Deduction Current YTD
No, | Description} Rate Hours | _Amount_| Description | Hours | Amount |Description] Amount Amount__| Description | Amount Amount
53010 |O-Regular Pay | 53.1300 32.00 1,700.16 ]0-Regular Pay 532.00 28,415.16 {Federal WH 446.29 4,424.00]3-401K 64.63 627.07
53010 |O-Regular Pay | 53.1300 24.00 1,275.12 [8-Weekend Pay 1,800.00 /OASDI 193.76 1,877.79|6-Dental Cafe’ Pl 9.33 93.30
53010 |0-Regular Pay | 150.0000 150,00 ]10-PTO Carryovd 75,86 1,137.90] Medicare 45.31 439.16116-Vision Cafe’ PI 2.36 24.04
53010 |0-Regular Pay | 53.1300 2.00 106.26 |12-Per Diem No 2,905.00|CO: State WH 127.00 1,244.00]19-Short-term Di 9.21 92.10
53010 |12-Per Diem No} 35.0000 140.00 20-Long Term Di 19.63 196.30
53010 |12-Per Diem No} 35.0000 175.00 23-Additional Lifa 13.39 133.90
28-Health Plan-C 94.89 948.90
M1-ER 401k Mat J 32,32 313.51
Employee Totals 58.00 3,546.54 Total YTD:| 607.86 34,258.06 812.36 7,984.95 245,76 2,429.12
i Available Leave Totals: | Sick Hours [PTO 50.00 [Carryover PTO 4.48]
Account Type . Bank Routing No. Bank Account No, Amount Deposited
Checking HRREKAQTA *HAEHEQTOO / 2,320.74
Checking #AEKHOOTS #REEKEADBD —_ ; 200.00

 

 

 

 

 

 

Company Memo: Private Memo:

 

 
 

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SEAM Group LLC
6210 Technology Center Drive, Suite 200
Indianapolis, IN 46278

Direct Deposit Voucher

Payee

Div... 110712 / Dept.: 53010
Samuel C. Dukes
1192 S. Bahama St

Aurora, CO 80017-4429

Non-Negotiable

 

 

 

 

 

 

Check Date | Reference No.
05/24/2019 2009347
Amount
$2,663.86

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Company Memo:

Private Memo:

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Company Name |SEAM Group LLC Processed By Kemper 1st Choice Payroll
/ Address 6210 Technology Center Drive, Suite 200° Indianapolis, IN 46278 . a (317) 610-0021
_ Federal EIN|XX-XXXXXXX | (W) CO EIN] 27842197 ] (R) EIN]
Employee Name Samuel C. Dukes op . / / / / - UCI State co
Company No.| _ 990036 | Payroll No, 158 ‘| Pay Freq.” Bi-Weekly ‘| l _ Tax Status | Deps | Xtr/Fxd Flat | Xtr/Fxd %
_ Employee No. 105] DivisionNo} 110712 | Start Date | 05/05/2019 Federal] Single = sT1
__SSNNo| #9560 | Home Dept.No] 53010 End Date| 05/18/2019 |wwyco | Single ee
Check No.| 2009347] NetPay| 2,663.86 | Check Date | 05/24/2019 (rR) | l
: Earnings Taxes Deductions & Memos
Dept. Current Year-to-Date Tax Current YTD Deduction | Current YTD
No. | Description] Rate | Hours{| Amount Description | Hours [| Amount |Description| Amount Amount Description | Amount Amount
53010 |0-Regular Pay | 53.1300 24.00 1,275.12 |0-Regular Pay 596.00 31,815.48 [Federal WH 482.68 4,906.68|3-401K 68.01 695.08
53010 |0-Regular Pay | 53.1300 40.00 2,125.20 [8-Weekend Pay 1,800.00 JOASDI 204.20 2,081.99]6-Dental Cafe' Pld 9.33 102.63
53010 |12-Per Diem No] 35.0000 175.00 |10-PTO Carryovd 75.86 1,137.90 |Medicare 47.76 486.92/16-Vision Cafe! Pl 2.36 26.40
53010 |12-Per Diem No] 35.0000 175.00 |12-Per Diem No 3,255.00 CO: State WH 135,00 1,379.00]19-Short-term Di 9.21 401.31
20-Long Term Di 19.63 215.93
23-Additional Lif 13.39 147.29
28-Health Plan-C *, 94.89 1,043.79
M1-ER 407k Mat vf 34.00 347.51
Employee Totals 64.00 3,750.32 Total YTD:] 671.86 38,008.38 869.64 8,854.59 250.82 2,679.94
I Available Leave Totals: | Sick Hours {PTO 50.00 [Carryover PTO 4.48 |
Account Type Bank Routing No. Bank Account No. Amount Deposited
Checking *KOO7E ERKIEANBZ 200.00
Checking weeregg74 weREEOTEO 2,463.86

 
